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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                              4:14CR3015
      vs.
                                                    MEMORANDUM AND ORDER
ROSLAND STARKS,
                      Defendant.


       The defendant’s plea hearing is scheduled for May 6, 2014.


       Accordingly,


       IT IS ORDERED that Rosland Starks’ pending Motion to Sever, (Filing No. 88),
is therefore denied as moot.


       May 5, 2014.
                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
